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                                               State of New Jersey
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                                               October 15, 2019


       Hon. Kevin McNulty, U.S.D.J.
       United States District Court,
       District for New Jersey
       Martin Luther King, Jr. Federal Building
       & U.S. Courthouse, Room PO4
       50 Walnut Street
       Newark, NJ 07102

                  Re:   Anthony Pinson v. Sharmalie Perera, et al.
                        Civil Action No.: 19-17227 (KM-ESK)
                        Letter Brief in Support of Defendants’ Motion to
                        Dismiss Plaintiff’s Complaint____________

       Dear Judge McNulty:

                  This office represents defendants New Jersey Department of

       Corrections, Acting Commissioner Marcus O. Hicks, Director Willie

       Bonds        and   Administrator             Patrick          Nogan        (collectively,               “State

       Defendants”) in the above-referenced matter.                                     Please accept this

       letter brief in lieu of a more formal submission in support of

       State Defendants’ motion to dismiss the Complaint in lieu of an

       answer, pursuant to Fed.R.Civ.P. 12(b)(6).                                     For the reasons set

       forth below, the Court should dismiss Plaintiff’s Complaint for

       failure to state a claim upon which relief may be granted.




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                 STATEMENT OF FACTS AND PROCEDURAL HISTORY

      Plaintiff Anthony Pinson is an inmate currently confined at

South Woods State Prison (“South Woods”) in Bridgeton, New Jersey.

(Compl., ¶¶ 4, 19). He was previously held at Northern State Prison

(“NSP”) in Newark, New Jersey. (Compl., ¶ 21). Plaintiff alleges

he suffers from sickle cell anemia which results in periodic

episodes of severe pain, referred to as “pain crises” (hereinafter

“crises”). (Compl. ¶¶ 23-26). He asserts that crises require

hospitalization,       blood       transfusions,       and   administration       of

powerful opioids.         (Compl. ¶¶ 31).

      Plaintiff      states     he    suffered      three    crises   during     his

incarceration at South Woods and four additional crises while he

was confined at NSP. (Compl., ¶¶ 32-33). He maintains generally

that State Defendants prohibited his access to opioid painkillers

and   alternatively       provided     Tylenol   and    water.     (Compl.,    ¶34).

Further,    in    April    2019,     Plaintiff   suffered     a    crises   at   the

Middlesex County Courthouse and was transported to the Robert Wood

Johnson University Hospital (“RWJ”) in New Brunswick, New Jersey.

Plaintiff states he was treated for the crisis at RWJ and diagnosed

with a bone infarction in his shin. (Compl., ¶¶ 35, 37). He

maintains    the      medical        bills   from    hospitalization        totaled
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approximately    $10,000    and     his    infarction   remains     untreated.

(Compl., ¶¶36, 40).

      Plaintiff filed his Complaint on or about August 27, 2019, in

the United States District Court for the District of New Jersey,

Newark   Vicinage,   against      Defendants   New   Jersey    Department    of

Corrections (“NJDOC”), Acting Commissioner Hicks, Director Willie

Bonds, and Administrator Patrick Nogan. (ECF No. 1). Plaintiff

brings claim under 42 U.S.C. § 1983 against Defendants Hicks, Nogan

and Bonds asserting they developed policies and/or gave orders

which caused a deprivation of his constitutional rights. Plaintiff

also advances negligence and intentional infliction of emotional

distress claims against Defendant NJDOC. (Compl., ¶¶ 41-60). On

September 27, 2019, State Defendants moved for a clerk’s extension

of time to answer, move, or otherwise reply, which was granted.

(ECF No. 6).

      This motion to dismiss in lieu of an answer now follows.

                           STANDARD OF REVIEW

      There are two working principles underlying the motion to

dismiss standard, pursuant to Fed. R. Civ. P. 12(b)(6).                  First,

“the tenet that a court must accept as true all of the allegations

contained in a complaint is inapplicable to legal conclusions.”

Ashcroft   v.   Iqbal,   129   S.    Ct.    1937   (2009).    Instead,    legal

conclusions “must be supported by factual allegations” in order to

be “entitled to the assumption of truth.”            Id. at 1950.
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      Second, “only a complaint that states a plausible claim for

relief survives a motion to dismiss.” Id.; see also Bell Atl. Corp.

v. Twombly, 550 U.S. 544, 570 (2007).               Whether a complaint states

a plausible claim for relief is a “context-specific task that

requires the reviewing court to draw on its judicial experience

and common sense.”       Id.    A claim is plausible on its face when the

plaintiff “pleads factual content that allows the court to draw

the reasonable inference that the defendant is liable for the

misconduct alleged.”          Iqbal, 129 S. Ct. at 1949 (citing Twombly,

550 U.S. at 556).       This standard is not a probability requirement,

but it “asks for more than a sheer possibility that a defendant

has acted unlawfully.”         Iqbal, 129 S. Ct. at 1949.

      In     other   words,    a    complaint      that   pleads    facts    “merely

consistent with a defendant’s liability” raises the possibility

that the defendant is liable for the alleged misconduct, but “stops

short of the line” of plausibility required for entitlement to

relief.      Id.   When the “well-pleaded facts do not permit the court

to   infer    more   than     the    mere   possibility     of    misconduct,    the

complaint has alleged - but it has not shown - that the pleader is

entitled     to    relief.”        Id.   (citing   Fed.   R.     Civ.   P.   8(a)(2))

(quotations omitted).
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                              LEGAL ARGUMENT

                                    POINT I

            PLAINTIFF’S CLAIMS AGAINST DEFENDANTS HICKS,
            NOGAN AND BONDS SHOULD BE DISMISSED BECAUSE HE
            FAILS TO STATE A CLAIM UPON WHICH RELIEF MAY
            BE GRANTED.

      All of Plaintiff’s claims against Acting Administrator Hicks,

Director Bonds, and Administrator Nogan (“Supervisor Defendants”)

should be dismissed because he has failed to plead sufficient facts

to establish supervisory liability under § 1983.

      Government     Supervisors     cannot   be   held   liable   for   the

“unconstitutional conduct of their subordinates under a theory of

respondeat superior.” Iqbal, supra, 566 U.S. at 676. Rather, there

are two general ways that a supervisor can be held liable for his

actions under § 1983. Barkes v. First Correctional Medical, Inc.,

766 F.3d 307, 316 (3d Cir. 2014), overruled on other grounds by

Taylor v. Barkes, 135 S. Ct. 2042 (2015). First, a supervisor can

be   held   liable    when   with    “deliberate    indifference    to   the

consequences,” he establishes or maintains “a policy, practice, or

custom which directly caused [a] constitutional harm. Id. (citing

A.M. Ex Rel. J.M.K. v. Luzerne County Juvenile Det. Ctr., 372 F.3d

572 (3d Cir. 2004)) Second, a supervisor may be personally liable

under § 1983 if he “participated in violating the plaintiff’s

rights, directed others to violate them, or, as the person in

charge, had knowledge of and acquiesced in the subordinate’s

unconstitutional conduct.” Id. (internal citation and quotation
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marks omitted). However, Plaintiff has failed to plead sufficient

facts, under either theory of supervisory liability, to state a

claim for which relief can be granted.

      In   order   to   sufficiently   plead   a     claim   for   failure   to

supervise, Plaintiff must plead facts that satisfy a four-part

test. First, “the plaintiff must identify a supervisory policy or

practice that the supervisor failed to employ, and then prove that:

(1) the policy or procedures in effect at the time of the alleged

injury created an unreasonable risk of a constitutional violation;

(2) the defendant-official was aware that the policy created an

unreasonable risk; (3) the defendant was indifferent to that risk;

and (4) the constitutional injury was caused by the failure to

implement the supervisory practice or procedure.” Barkes, supra,

766 F.3d at 317 (quoting Sample v. Diecks, 885 F.2d 1099, 1118 (3d

Cir. 1989)); see also Brown v. Muhlenberg Twp., 269 F.3d 205 (3d

Cir. 2001). In essence, such a claim requires that a supervisor

“by his or her own deliberate indifference to known deficiencies

in a government policy or procedure, has allowed to develop an

environment    which     there    is   an   unreasonable       risk   that   a

constitutional injury will occur, and that such an injury does

occur.” Barkes, supra, 766 F.3d at 320 (emphasis in original).

      First,   rather    than    identifying   any    specific     supervisory

policy or practice that Supervisor Defendants knew were deficient,

the Complaint merely makes conclusory allegations that Supervisor
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Defendants were “personally responsible for the orders and/or

policies that subjected Plaintiff to” extreme pain, risk of death,

and development of a bone infarction. (See Compl. ¶¶ 49-50). But

such assertions are entirely devoid of facts; and such claims in

regard to the existence of, and knowledge about, such a practice

or custom consist of mere speculation in the form of a conclusory

statement.       “[T]he   clearest    indication   that    an    allegation   is

conclusory and unworthy of weight in analyzing the sufficiency of

a complaint is that it embodies a legal point.” Connelly v. Lane

Const. Corp., 809 F.3d 780, 790 (3d Cir. 2016); see also Docherty

v. Cape May Cty., No. CV 15-8785 (RMB), 2017 WL 3528979, at *4

(D.N.J. Aug. 15, 2017); Jillard v. Bayside State Prison, No. CV

16-4118, 2017 WL 878228, at *4 (D.N.J. Mar. 6, 2017). Under Rule

8(a), courts are required to “disregard ‘naked assertions devoid

of further factual enhancement’ and ‘threadbare recitals of the

elements    of    a   cause   of   action,   supported    by    mere   conclusory

statements.’” Santiago, supra, 629 F.3d at 131(internal citation

omitted).

      Rather than plead mere conclusory statements, a complaint

needs to state factual details related to conduct of the defendants

making them responsible for the alleged constitutional harm. See

Evancho v. Fisher, 423 F.3d 347, 353 (3d Cir. 2005). Plaintiff has

failed to plead any facts that show that there was an actual policy

in effect that created an unreasonable risk of death, extreme pain,
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or development of a bone infarction. Plaintiff has also failed to

plead any actual facts that show that either Supervisor Defendants

had any actual knowledge of the deficiencies in any such policy

and were also deliberately indifferent to those deficiencies.

Thus, he has failed to set forth the basis for a failure to

supervise claim based on a deficient policy.

      Second, Plaintiff has also failed to plead sufficient facts

to state a claim for supervisory liability under the theory that

any of the Supervisor Defendants either were personally involved

in, or had knowledge of and acquiesced in, the violation of

Plaintiff’s constitutional rights when he was allegedly denied

proper medical care.     Nor does the Complaint state that any of the

Supervisor    Defendants    directed   any   of    their   subordinates    to

violate the constitutional rights of Plaintiff. Again, Plaintiff

only asserts the conclusory allegation that Supervisor Defendants

were “personally responsible for the orders and/or policies that

subjected    Plaintiff     to”   extreme   pain,    risk   of   death,    and

development of a bone infarction. (See Compl. ¶¶ 49-50). This

allegation is insufficient because it is threadbare, conclusory,

and embodies a legal point. Thus, Plaintiff’s claims against

Supervisor Defendants should be dismissed.
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                                 POINT II

           PLAINTIFF’S STATE LAW CLAIMS AGAINST NJDOC
           SHOULD BE DISMISSED UNDER THE NEW JERSEY TORT
           CLAIMS ACT.____________________


           A. Plaintiff’s State Law Claims Should Be
              Dismissed Because Plaintiff Has Failed to
              Comply With The Presentation Requirements
              of the NJTCA.

      The Court should dismiss Plaintiff’s state law claims because

Plaintiff has failed to comply with the presentation requirements

of the New Jersey Tort Claims Act (“NJTCA”).           Under the NJTCA, a

person bringing a tort claim against a public official must give

notice to the entity within ninety days of the injury.             N.J.S.A.

59:8–8.    A claim against the state must be filed either with (1)

the Attorney General or (2) the department or agency involved in

the alleged wrongful act or omission, in this case, the New Jersey

Department of Corrections.        N.J.S.A. 59:8–7; see also Waheed v.

Atkins, 2010 WL 148798, at *6 (D.N.J. Jan. 13, 2010); Brown v.

Arrayo, 2012 WL 4506550, at *5 (D.N.J. Sept. 28, 2012). Plaintiffs

may   satisfy   the   Act's   notice   requirement   through   substantial

rather than strict compliance. Lebron v. Sanchez, 970 A.2d 399,

405 (N.J. App. Div. 2009) (notice requirement was not intended as

a “trap for the unwary”).

      A claimant is “forever barred from recovering against a public

entity or public employee” if the claimant fails to file the notice

of claim with the public entity within 90 days of accrual of the
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claim.    N.J.S.A. 59:8-8(a).       Failure to file a notice of claim is

a ground for dismissal at the motion to dismiss stage.                See, e.g.,

Webster v. Rutgers-New Jersey Med. Sch., No. CV 15-08689, 2017 WL

3399996, at *3 (D.N.J. Aug. 4, 2017); Dukes v. New Jersey Transit

Corp., No. CV 16-08947 (CCC), 2018 WL 1378726, at *6 (D.N.J. Mar.

19, 2018); Niblack v. SCO Malbreen, No. 15-5298, 2016 WL 1628881,

at *3 (D.N.J. Apr. 25, 2016); William v. Westampton Police Dep’t,

No. L-1144-13, 2014 WL 5393184, at *3 (N.J. App. Div. 2014);

Yancoskie v. Delaware River Port Auth., 155 N.J. Super. 1, 5, (N.J.

App. Div. 1977), aff’d, 78 N.J. 321 (N.J. 1978).

      Here,   the   Court   should   dismiss   Counts    Two    and    Three   of

Plaintiff’s     complaint       asserting   negligence    and     intentional

infliction    of    emotional    distress   against   Defendant       NJDOC    for

failure to comply with the NJTCA.           Plaintiff does not allege he

filed a timely notice of claim under the NJTCA. Further, the

Complaint does not allege any extension of the requirement to file

has been sought or obtained.         (See generally Plaintiff’s Compl.).

Accordingly, Plaintiff’s state law claims should be dismissed for

failure to comply with the Tort Claims Act.
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             B. Plaintiff’s   Intentional  Infliction   of
                Emotional   Distress   Claim   Should   Be
                Dismissed Against NJDOC Because The Theory
                Of Respondeat Superior Does Not Apply to
                Intentional Torts

      In addition to constitutional claims, Plaintiff alleges that

Defendant NJDOC is the employer of Doctors Sharmalie Perera and

Sandra    Connolly    and   therefore   “liable    via   the    principle   of

respondeat superior for [his] severe emotional distress.” (Compl.,

¶ 60). Under the Tort Claims Act, “there can be no vicarious

liability by a public entity for intentional torts committed by

its employees; that is, with respect to such intentional torts,

the theory of respondeat superior does not apply.”             Hoag v. Brown,

397   N.J.   Super.   34,   53-54   (App.   Div.   2007).      Axiomatically,

intentional infliction of emotional distress is an intentional

tort.    As the theory of respondeat superior is not applicable to

such torts and Plaintiff’s failure to show that Defendant NJDOC is

personally responsible for alleged negligence of Drs. Perera and

Connolly precludes a finding of liability against the agency. Thus,

Count Three of Plaintiff’s Complaint should be dismissed.
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                                     POINT III

            PLAINTIFF’S    CLAIMS   AGAINST     SUPERVISOR
            DEFENDANTS SHOULD BE DISMISSED BECAUSE THEY
            ARE ENTITLED TO QUALIFIED IMMUNITY.

       Qualified    immunity        protects     government      officials   from

liability for civil damages when their conduct does not violate

clearly established statutory or constitutional rights of which a

reasonable person would have known.               E.g., Pearson v. Callahan,

555 U.S. 223, 231 (2009) (citing Harlow v. Fitzgerald, 457 U.S.

800 (1982)). Qualified immunity balances the need to hold officials

accountable for irresponsible exercise of power with the need to

shield officials from harassment, distraction, and liability when

they   perform     their   duties     reasonably.     Id.    Qualified   immunity

applies regardless of whether the government official's error is

“a mistake of law, a mistake of fact, or a mistake based on mixed

questions of law and fact.” Id. (quoting Groh v. Ramirez, 540 U.S.

551, 567 (2004) (KENNEDY, J., dissenting).                  To determine whether

qualified immunity applies, Courts engage in a two-step analysis.

Id., at 232.       The court must first (1) decide whether the facts

plaintiff    has    alleged    or    shown     make   out    a   violation   of   a

constitutional right, and if a plaintiff has satisfied that step,

the court decides (2) whether the right at issue was “clearly

established” at the time of defendant's alleged misconduct.                  Id.,

at 232.   This analysis applies to New Jersey State law claims under
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the Tort Claims Act and New Jersey Constitution.                    See N.J.S.A.

59:3-3; Alston v. City of Camden, 168 N.J. 170, 186 (N.J. 2001);

Wildoner v. Borough of Ramsey, 162              N.J. 375 (N.J. 2000).

      Defendants Hicks, Nogan and Bonds are entitled to qualified

immunity    because      they   are   government       officials   whose    alleged

conduct     did    not     violate     clearly    established      statutory    or

constitutional rights of which a reasonable person would have

known.     See Allah v. Ricci, 532 F.App'x 48, 51 (3d Cir. 2013);

Hudson v. McMillian, 503 U.S. 1, 20 (1992) (noting the Eighth

Amendment       “plays    a   very    limited    role    in    regulating   prison

administration”).         As argued above, Plaintiff has failed to plead

that their actions constituted a constitutional violation.                     See

supra, at Point I.

      Further, there is no “clearly established” law that would

have put Defendants Hicks, Nogan and Bonds on notice that their

alleged     actions      violated     Plaintiff’s       constitutional      rights.

Plaintiff has not identified a clearly established legal principle

that would place them on notice that Plaintiff had a constitutional

right    that     was    allegedly    violated    in    this    case.   Therefore,

qualified immunity applies and Plaintiff’s Complaint should be

dismissed.
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                                 CONCLUSION

      For the foregoing reasons, it is respectfully requested that

the State Defendants’ Motion to Dismiss Plaintiff’s Complaint be

granted and all claims against State Defendants be dismissed with

prejudice.

                              Respectfully submitted,

                              GURBIR S. GREWAL
                              ATTORNEY GENERAL OF NEW JERSEY

                        By:   /s/ Travis M. Anderson
                              Travis M. Anderson
                              Deputy Attorney General


c.    Michael Poreda, Esq.
        Attorney for Plaintiff
